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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                              October 20, 2020
                             SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                                 HOUSTON DIVISION

MARY CYNTHIA MENDIOLA,           §
                                 §
      Plaintiff,                 §
VS.                              §                           CIVIL ACTION NO. 4:19-CV-601
                                 §
ANDREW SAUL, COMMISSIONER OF THE §
SOCIAL SECURITY ADMINISTRATION   §
                                 §
      Defendant.

                                            ORDER

       Before the Court is United States Magistrate Judge Frances H. Stacy’s Memorandum and

Recommendation filed on August 31, 2020 (Doc. #19). The deadline for filing objections has

passed, and no objections have been filed. Pursuant to Federal Rule of Civil Procedure 72(b), the

Court has reviewed the Memorandum and Recommendation for clear error. See United States v.

Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989). Finding no clear error, the Court adopts the

Memorandum and Recommendation in its entirety.

       It is so ORDERED.




October 20, 2020                            _____________________________________
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Date                                        Thee Ho
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                                                                  ed H. Bennett
                                            United
                                               ited States District Judge
